Case 4:23-cv-03560   Document 271-3   Filed on 06/20/25 in TXSD   Page 1 of 4




                     Exhibit B
                     (Excerpt)
  Case 4:23-cv-03560            Document 271-3      Filed on 06/20/25 in TXSD Page 2 of 4
                                                                   HIGHLY CONFIDENTIAL



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


FEDERAL TRADE COMMISSION,

                   Plaintiff,

              v.                                             Case No.: 4:23-CV-03560-KH

U.S. ANESTHESIA PARTNERS, INC., et al.

                   Defendants.


                   USAP’S OBJECTIONS AND RESPONSES TO THE FTC’S
                       FIRST SET OF REQUESTS FOR ADMISSION

       Pursuant to Rule 36 of the Federal Rules of Civil Procedure, Defendant U.S. Anesthesia

Partners, Inc. (“USAP”), by and through undersigned counsel, objects and responds to Plaintiff

the Federal Trade Commission’s (“FTC”) First Set of Requests for Admission (the “Requests”),

dated March 7, 2025. These objections and responses reflect USAP’s present knowledge,

information, and belief and are subject to change or modification based on further discovery or

on facts or circumstances that may come to USAP’s knowledge.

                                    GENERAL OBJECTIONS

       The following General Objections apply to each and every Request and will form an

integral part of USAP’s response to the FTC’s Requests.

       1.      USAP objects to each and every Definition, Instruction, and Request to the extent

it attempts to alter the scope of discovery or impose obligations that exceed those required by the

Federal Rules of Civil Procedure, the Local Civil Rules of the U.S. District Court for the

Southern District of Texas, any agreement or stipulation between the parties on ESI, any

Protective Order, or any other rule or order in this case.
  Case 4:23-cv-03560       Document 271-3        Filed on 06/20/25 in TXSD Page 3 of 4
                                                                HIGHLY CONFIDENTIAL



       Subject to and without waiving these objections, USAP denies that it acquired Anesthesia

Consultants of Dallas, but admits that USAP Texas hired, as new employees, personnel formerly

affiliated with Anesthesia Consultants of Dallas. USAP admits that, prior to being hired as new

employees, personnel formerly affiliated with Anesthesia Consultants of Dallas provided

Anesthesia Services in Dallas.

REQUEST NO. 38:

Admit that before it was Acquired by USAP, Excel Anesthesia, P.A. provided Anesthesia
Services in Dallas.

RESPONSE:

       USAP incorporates by reference its General Objections and its Objections to Definitions

and Instructions.

       Subject to and without waiving these objections, USAP denies this Request, as it did not

acquire Excel Anesthesia, P.A., but admits that USAP Texas acquired Excel Anesthesia, P.A.,

and USAP admits that Excel Anesthesia, P.A., provided Anesthesia Services in Dallas before it

was acquired by USAP Texas.

REQUEST NO. 39:

Admit that before it was Acquired by USAP, BMW Physicians provided Anesthesia Services in
Dallas.

RESPONSE:

       USAP incorporates by reference its General Objections and its Objections to Definitions

and Instructions.

       Subject to and without waiving these objections, USAP denies that it acquired BMW

Physicians, but admits that USAP Texas hired, as new employees, personnel formerly affiliated

with BMW Physicians. USAP admits that, prior to being hired as new employees, personnel

formerly affiliated with BMW Physicians provided Anesthesia Services in Dallas.


                                               25
  Case 4:23-cv-03560       Document 271-3        Filed on 06/20/25 in TXSD Page 4 of 4
                                                                HIGHLY CONFIDENTIAL



REQUEST NO. 40

Admit that before it was Acquired by USAP, Medical City Physicians provided Anesthesia
Services in Dallas.

RESPONSE:

       USAP incorporates by reference its General Objections and its Objections to Definitions

and Instructions.

       Subject to and without waiving these objections, USAP denies that it acquired Medical

City Physicians, but admits that USAP Texas hired, as new employees, personnel formerly

affiliated with Medical City Physicians. USAP admits that, prior to being hired as new

employees, personnel formerly affiliated with Medical City Physicians provided Anesthesia

Services in Dallas.

REQUEST NO. 41

Admit that before it was Acquired by USAP, East Texas Anesthesiology Associates provided
Anesthesia Services in Tyler.

RESPONSE:

       USAP incorporates by reference its General Objections and its Objections to Definitions

and Instructions.

       Subject to and without waiving these objections, USAP denies that it acquired East Texas

Anesthesiology Associates, but admits that USAP Texas hired, as new employees, personnel

formerly affiliated with East Texas Anesthesiology Associates. USAP admits that, prior to being

hired as new employees, personnel formerly affiliated with East Texas Anesthesiology

Associates provided Anesthesia Services in Tyler.

REQUEST NO. 42

Admit that before it was Acquired by USAP, MetroWest Anesthesia Care, PLLC provided
Anesthesia Services in Houston.



                                              26
